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                                                                                                                                         4tel
Pay and Performance                                               Baseball
                                                                                                                                         STOR
                                  in Major          League


           Gerald   W     Scully



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                               Pay and Performance in Major
                                                                       League Baseball

                                                                               By GERALD                 W SCULLY

      The        1972           baseball                season           opened                with               The purpose                  of   this     paper           is    to crudely

the     first      players              strike           in     baseball history                             measure               the    economic           loss       to        the    players

The       issues               were         economic                     focusing              pri           due      to           the    restrictions                 of     the        reserve

                 on        the                                                      fund         In          clause                                         between
marily                                  player               pension                                                          Relationships                                       player          per
                years there has been
recent                                                                      growing            dis           formance and salary will be estimated and

content                               players over                     the provisions                        the                                             compared                   to
                   among                                                                                             predicted                 salary                                             pre
of    the     uniform contract                               in    organized base                            dicted           player       marginal              revenue                product
ball        an        issue           which             threatened                   a     strike            Aside        from            providing             insights               into        the

and      a      lockout                prior            to    the        1973            season              operation              of   a particular labor                      market            the

The          principal                  issues               remain             minimum                      approach               differs     from other studies                           of    the

salaries              maximum                       salary               cuts             player             wage determination                          process            in    the    follow

benefits               and             the         reserve                  clause             The           ing    ways             1    the       individual              player           is    the

players              support
                                            the         recent              Curt           Flood             unit        of
                                                                                                                               observation                  2     salary            functions

claim        that          the        reserve            clause          is    illegal         and           are    estimated              within           the    framework                      of    a

severely reduces                        player               economic               benefits                 labor        market           characterized                    by      extensive

Economic                   analysis                 confirms                   the          latter           bargaining                  3 marginal              revenue               products
view        see Simon Rottenberg                                            The owners                       of    the    factors          of   production                  are    estimated

contend               that           the     clause               is
                                                                        necessary               for          explicitly              and       4     rates        of    monopsonistic

equalization                     of     playing                 strength                 among               exploitation                 are        found             by          comparing
teams           Economic analysis disputes such                                                    a         salary       and        marginal            revenue    product over
contention                 see          Mohamed                        El     Hodiri           and           various               performance               levels  and   career

James           Quirk Further owners                                           insist          that          lengths

player          salary              demands                  are       unrealistically                            The         discussion             will     unfold              as    follows

high Fans caught                             in     the       middle seem per                                First        the        institutional              characteristics                        of


suaded              that             the       players                 are      overpaid                     the     baseball              players           labor            market               are

Somehow                    a    $150000                  a      year          ball        player             briefly          outlined              Next        with         this        institu

claiming              exploitation                      is   anti heroic                                     tional           framework              in      mind            a      model              of


                                                                                                             marginal              revenue       product and salary                                de
      Professor         of                              Southern     Methodist Uni                           termination                  is    formulated  Then                                   the
                                economics

versity This paper evolved                          from        my paper Discrimi                            results          of    the    empirical            investigation                     into
nation       The      Case             Baseball              which       was prepared
                                                                                                                                                                                                   de
                                 of                                                              for
                                                                                                             marginal              revenue          product            and         salary
the     Brookings              Conference               on Government and                        the

Sports Business                Dec      6 and       7    1971 I acknowledge                     that         termination                  are       presented                Finally               the

the   participants             at     the   conference             and      others        particu            rate    of                                                                 is   calcu
                                                                                                                          monopsonistic                     exploitation
larly    Josef        Hadar           Roger        Noll James Quirk Leonard
                                                                                                             lated       and policy             implications                 discussed
Rapping          Sherwin              Rosen         and  the managing editor
contributed                    the     ideas       in    this                   In       its
                      to                                           paper                       early
                                                                                                                    I The                                       of the Baseball
                                                                                                                                    Organization
phases       this     study          was    partially         financed         by        PHS Re
                                                                                                                                     Players Labor                Market
search Grant           No 1R01HD0598901                                from the National

Institute       of    Health           In    its    final     stages          the    study      was               The         institutional              framework                 governing
partially       financed         by Institutional                  Grant      No 314670
                                                                                                             the    organization                    of    the     labor            market              in
06    from      the
                 Manpower                     Administration                   US Depart
ment of       Labor                                                                                          baseball has                been discussed                in depth              previ

                                                                                                       915
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     ously         see Rottenberg                                We will           deal         only      grants               some                monopsony                       power              to      the

     briefly           with           the    topic           Currently a player                           owner and                      the           exercise             of     that      power            re
            a                               until         he                                                                   a                                       between              IIIRP           and
     is
                 free          agent                              signs       a       oneyear             sults          in             divergence

     renewable                    uniform contract                          with       a    major         salary              The marginal revenue product con
     league            team The renewable                                   feature         of   the      tinues              to    be            an    essential factor                         in    player
     contract               is    an option                 granted           exclusively                 salary              determination                             but        under              the     re
     to the           owner            and       is   known            more widely                   as   serve          clause players                           and owners                     share        the

     the        reserve           clause              Simply stated                        the    re      players              MRP
     serve        clause              restricts           the     players freedom                                  The players marginal                                          revenue          product
     of     negotiation                    to the      owner of the contract                              in       baseball                  is    the       ability             or     performance
     Short        of       a     constraint               restricting             the       owner         that           he    contributes                        to        the     team and                  the

     in     the       percent               that       he      can      cut       a    players            effect         of    that           performance on gate receipts
     salary           from the previous                               season           the       con      The           effect          of        player          performance                     on reve
     tract        grants a                 license          to    the       owner          to    dis      nue may be direct or indirect Ability                                                             con
     pose        of    the       players services                       in    the       manner            tributes to team performance    and                                                               vic
     he         sees       fit        The        owners                options             at    the      tories             raise           gate           receipts               and       broadcast

     expiration                  of    the contract                   are   wide           He can         revenues                      this           is     the           substantial                 effect


     renew             sell           or    terminate                 the     contract               If   of        the        individuals                         performance                         Addi
     he     renews               the       contract              the player                          be   tionally                                                      that            some players
                                                                                        may                                        it        is
                                                                                                                                                   possible

     relegated                 to the       team roster transferred                                  to   may            attract                  fans        over           and           above           their

     a    minor league                       team on                  the                                 individual                    contribution                        through          the       team
                                                                             protected
     list       or left          eligible         for the players                      draft In           Both           players                  and        owners              understand                   the

     selling           the       contract              to      another            team           the      relationship                        and the players ability                                  is     the

     owner             transfers                 a                                rightthe                key        issue         in    bargaining                     But aside from the
                                                          property
     exclusive              control over                  the     players services                        actual              MRP                 of        the    player                  the    relative

     If     sold the player                        must report                    to    his      new      strength                 of        the       bargainers                 will      also       affect

     owner within seventytwo                                           hours                              salary              It        is    true           that       the        reserve             clause

          The          players options                           are     more limited                     grants             more economic                         power to the owner
     Upon         being               offered
                                           contract   a                           the      player         However                       management                          isconstrained by

     can accept                  the terms and sign                           or       attempt            considerations                           of    player             and team morale
     to negotiate                     an improvement                         in    the      terms         Certain              factors                   such           as       the        number             of

     in     his       favor            The                                    resort            to        close          substitute                     players                                  the        out
                                                 player               may                             a                                                                          affect

     number             of       ploys including                        the       holdout                 come           of    the negotiation                              But the personal

     tactic           to    improve              the        terms But once the                            ities         of    the        bargainers                    must contribute                         to

     owner             has            made            his      final              offer          the      relative             bargaining                         strength                  Bargaining
     player           must            capitulate                 or    withdraw              from         always has                     in       it    an element                    of    poker and
     organized baseball                                                                                   as   poker the player
                                                                                                                   in                                                  is   at least as               impor
          The          reserve             clause           plays        an       important               tant as the cards

     role in       the determination                              of   player          salaries
                                                                                                          II       A Simple Model of Marginal Revenue
     If     the    labor              market           in      organized               baseball
                                                                                                                   Product and Salary Determination in
     were perfectly                        competitive player                           salaries
                                                                                                                                        Major League Baseball
     would            be         equated              with        player              marginal
     revenue               products                   MRP                   The         reserve
                                                                                                                   A model which purports to reveal simply
     clause            prohibits                 the        transfer              of
                                                                                                          the           formal               process              of        MRP            and         salary
                                                                                           player
     services              to         teams           where            their          MRP            is
                                                                                                          determination                            should          incorporate                    the       two

     higher The                       reserve         clause           restricts           player              1
                                                                                                                   For    an       elegant             treatment            of    the      theory       see    El
     bargaining                  to        one     owner               The        restriction             Hodiri         and Quirk
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 major features                   of    the          ball players                     labor        Team              costs     C will be determined by the
 market       discussed             above              1 Gross                   baseball        level     of        skills      of      the      players             and       by    the

                                 related          to        individual                                                   other        nonplayer                  inputs          Since
 revenues           are                                                                 per      level     of

 formance primarily through                                   their          effect         on   teams face a monopsonistic                                      labor      market
 team standing                    and        2        the     reserve                 clause     player         costs         are        endogenously                     related      to

 reduces      player             salaries        below player margi                              the level            of    skill        Other factor markets are

 nal    revenue          products                                                                assumed                 competitive                  Therefore              we       de
      Teams      are         engaged             in    the    production                    of   fine    team costs                   as

                        number
                                                                                                                            E ASA
 a constant                                                                  a    certain
                                                                                                                                                            E
                                            of                     of
                                                  games
 level   of    quality             The       quality               of    the          games
                                                                                                 3         C =                                                      rjj

 is   assumed           to be          measured               by the                  teams
 percent       wins           W which                  is    related              to    two
                                                                                                           i        = 1                  n        j    = 1                  m

              categories               of    inputs           1         a vector            of
                                                                                                               SA
                          A
 general                                                                                         where                         are                         supply functions
                                                                                                                                         player
 player       skills               and           2     a    vector               of    other
                                                                                                 and   r nonplayer                         factor          remunerations
 nonplayer              inputs          I         such        as         managers                    Team profits 7r are                          defined           as
 coaches        capital             etc          and         more nebulous

 inputs       such       as       team spirit                Thus                                4                                  7 = R                  C

 1 W = TVA                   1    A2                  A       Ii        I2                           The        first       order          conditions                 for   a    max
                                                                                                 imum are obtained by differentiating                                                with
      Teams         derive          revenue                 essentially                from
                                                                                                 respect            to   Ai and            I
 two     main           sources             gate        receipts                 and     the

 sale    of    radio          and       television                 rights              Fans                         ar              OT          3W             3B     OW
 purchase        tickets           or       watch           televised
                                                                                      games      5             aAi
                                                                                                                            =P
                                                                                                                                    aw 3A                      OW     aAi
 because       they derive                  utility          from seeing the

 home team win We
                                                                                                                                      Ai
                                             assert          that        both gate                                                              asi
                                                                                                                                                            Si
 receipts and broadcast                          revenue                are directly                                                        aAi
 related      to the          teams percent wins and                                     the
                                                                                                                     = 1



                                                                                                                                                       +r
                                                                                                                i                          ii


 population              in       the        area            and         indirectly

 related       to       player          performance                          That           is
                                                                                                                    ar              aT          aw             aB     aw
 fans    attend              or    watch              games             to       see     the
                                                                                                 6                          = P
                                                                                                                                    aw                         aw Or
 team win not to see player                                  skills                    se   It                  91                              az
                                                                             per
 is   well    known           that      attendance                      varies         with
 team performance                       and           size    of        the       metro
                                                                                         un          The            first   order           conditions                reveal         that
 politan       area           see       Roger               Noll and
                                                                                                 teams maximize profits by selecting a level
 doubtedly              so    do       broadcast              revenues                  see
                                                                                                           skills and nonplayer inputs such
 I Horowitz                   Accordingly we state
                                                                                                 of player

                                                                                                 that    players receive                        a salary equal to their
 2              R =          pTwA
                                                                                                                     S
                                                               Pal
                                                                                                 marginal revenue                        products              less   monopsony
                                   BWA I Pb                                                      rents     A                  and          other           factors     are remu


                    i    = 1                     n j= 1                                m         nerated             equal          to     their       marginal             revenue

                                                                                                 products Owner accrued                                    monopoly profits
 whereR= team revenue p= ticket price                                                            are also present                   in     the        model The manifes
 T= number of tickets sold W= team per                                                           tation         of       monopoly                profits            may     be       con
 formance            P= population                                                          at   sidered            by observing that



                                                                                                                              = p>
                                                             potentially
 tracted        to        the          ballpark               Pb= potential
                                                                                                                                                      OT
                                                              B= broadcast                                                     a7r
 broadcast              households                   and
                                                                                                 7                                                               o
 revenues                                                                                                                     aP                      aP
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                                     07r            aB                                               market characteristics                                   of    the area in which
    8                                          =              > 0                                    the     team plays                       The        justification                for       esti
                                     aPb            aPb
                                                                                                     mating              these           relationships                     separately               is



         III                                             Revenue Products                            derived              from         the          fact           that       fans         attend
                 Player Marginal

                                                                                                     games             principally                  to       see        the    home         team
         It    is    possible to crudely                           estimate player
                                                                                                     win          not      to       witness              hitting              and     pitching
    marginal revenue
    baseball   While
                                              products in major league
                                                 the         marginal              revenue           performance                     per         se3         Equation               9 speci
                                                                                                     fies     a        linear         relationship                       between            team
    product              of     a particular                  player        cannot            be

    determined                     readily             the      effect       of     player
                                                                                                     percent            wins PC           TWIN expressed conven
                                               team                               and        the
                                                                                                     tionally           won divided by total
                                                                                                                          as    games
    performance                      on                       winning
                                                                                                     games       1000   and a number of team
                                                                                                                    times
    effect          of    team winning                        on     team revenue
                                                                                                     performance  variables  On the basis of
    can         be        ascertained                 Making  reasonable
                                                                                                     previous             research               into         the determinates                      of
    assumptions                      about           how a players per
                                                                                                     player            salaries             it      was           found         that        hitter
    formance               alters         team performance permits
                                                                                                     and      pitcher               performance                         were    most            suit
    approximations                         of       the       players         marginal
                                                                                                     ably measured                       by        the slugging
                                                                                                                                                                               average            SA
    revenue              product              It    would be better                     if   the

    relationship                   between                   marginal              revenue
                                                                                                     and          the      strikeout               to walk               ratio        SW           re

                                                                                                     spectively4                    Therefore                     the    team         win loss
    product              and       player           performance                   could        be
                                                                                                     percent             is
                                                                                                                               hypothesized                         to    be     related            to
    estimated                 using           the    player         as     the     unit        of
                                                                                                     the      team slugging                           average             TSA         and         the
    measurement rather than the team as can
    be done in the salary regressions Such a
                                                                                                     team strikeout to walk                                        ratio      TSW          which

                                                                                                     are     assumed                to    measure                  the     offensive            and
    procedure                 is
                                   impossible                for    the    hitters           and
                                                                                                     defensive                contributions                        to    team victories
    very        difficult            for        the      pitchers           Hitters            in

    the        regular             lineup                          virtually
                                                                                                     Winning however   may be determined by
                                                    play                             every
                                                                                                     more than team hitting and pitching per
    home            and       away game                     during         the     season
                                                                                                     formance A large number of games in the
    Hence                fans      cannot             discriminate                 through
                                                                                                     majors during                       the        season              are    won        by one
    attendance                  on the basis                  of    player         appear
                                                                                                     run In these                    instances                    player       and hitting
    ance         Pitchers            do not start every                       game             so
                                                                                                     performance                     per         se     will        make        less       differ
    it    is
                possible             to        evaluate             their     marginal
                                                                                                     ence         in     the    outcome                      It    is   here     that           team
    revenue               products                 individually               But            this

                                                                                                     play          hustle             the           quality              of     managerial
    requires laboriously                            analyzing              attendance
                                                                                                     and          on      the       field          decision              making             all     of
    for every              team for every game during                                        the
                                                                                                     which          is    determined        by team morale will
    season
                                                                                                     substantially                   determine which team wins
         Player            marginal                 revenue             products              are
                                                                                                     a higher share                      of      these            one run games To
    estimated                   in        a        two equation                    mode12

    Equation               9         in       essence         is    the    production
                                                                                                     adjust            for these              factors              two dummy vari

    function              which            relates   team output the
                                                                                                     ables         are        specified                CONT              which        is
                                                                                                                                                                                            equal

                                                                                                     to     one        for      pennant                  or divisional                    winners
    win loss percent                          to a number of team in

    puts         Equation                  10          is    the     team revenue
                                                                                                            One must           concede           however            that fans       are   drawn     to
    function              which            relates           team         revenues             to
                                                                                                     see    superstar players                 in   action          The    point       however        is

    the       team win loss record                             and the principal                                                                             correlated                           with
                                                                                                     that    team         revenue        will      be                         principally

                                                                                                     team win loss              records          and     less      readily     with       team per

                           Pascal         and      Leonard                                           formance            statistics       This          is   verified     by    empirical         evi
          Anthony                                                  Rapping came              close


    to                                                                        in    baseball         dence         that       the    zero order              correlation        coefficient        be
          estimating            player        marginal         products
                                a two equation                       one relating            team    tween        team        revenue         and       team        percent     wins       is   much
    They       specified                                    model
                           to   team wins the               other between          team wins         higher       than        the    correlation             coefficients       between         team
    performance
    and       attendance           but     did     not      interpret     their    results      as   revenue        and       team hitting              and       pitching     measures
    estimates of
                          player         marginal        products
                                                                                                       4
                                                                                                            See    the author          1974
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  and their closest competitors                                    at the               end     of   with equivalent                             player              performance                              All     of


  the     season              if    the     competition                  was           five     or    the           coefficients                 are            significant                       at         better

  fewer        games out and                         OUT which                     is   equal         than the                1
                                                                                                                                   percent level                           With an R2 of                            88
  to     one    for       teams which                      at    the     end            of    the     the        team PCTWIN                                   function              can be judged

  season        were twenty                         or   more games out                         of   as          rather                completely                         specified                     To          the

  placing            Variable               CONT                should             capture           extent               that           CONT              and             OUT       do not cap

  quality           of    play above                     and beyond hitting                          ture            other               dimensions                        of      team quality

  and pitching                     performance                  inspired               by the        such            as      managerial                        and           coaching                    inputs
 potential               of    a    pennant               or    divisional                  title    the         variance                  associated                      with omitted fac
  Variable           OUT             should
                                                         capture
                                                                         the           demor         tor inputs
                                                                                                                                   appears
                                                                                                                                                          to be            quite         small

  alization              that        surrounds                  habitual                losers                Team                revenue                 REVENUE                                       is        esti

  Finally the absolute quality                                    of    play           is
                                                                                             gen     mated as a linear                                equation which                                specifies

  erally        regarded                  as        being        higher                in     the    PCTWIN                            and       market                    characteristics                           as

  National               League             Thus            equivalent                      team     the            principal                 determinants                              REVENUE
  hitting           and        pitching                  performance                    would        is       defined             as      home attendance                                    times            aver
 be expected                   to     yield         a lower         win loss per                                 ticket            price plus                   revenue                 from broad
                                                                                                     age
  cent     in the             National               League To compen                                casting                rights7             The            hypothesis                     is    that            fan

  sate for this factor                          a   dummy variable NL                                attendance                          and         hence
                                                                                                                                                       revenue                                          is     posi
 equal         to   one        if    the    team is in the National                                  tively affected                          by team wins Fans respond
 League             is
                          specified                                                                  to       teams that win                              When               adjusted                    for dif

      The team percent                         win function               PCTWIN                     ferences                 in        monopoly                     income                  among                  the

  was      estimated                  with           team        data         for           1968     teams                  the         partial                coefficient                   of         REVE
 and      19695 The                   statistical              results            are                NUE with respect                                     to        PCTWIN                         is    a     mea
                                                                                                     sure            of       marginal                    revenue                  across                teams
  9       PCTIVINt                    = 3724              + 92 TSA                 t
                                                                                                     Franchises                        are      granted                     as     exclusive                       mo
                                               39          437
                                                                                                     nopoly rights The                                    size        of     the geographical

          +90 TSWt 3857 NL1 4378 CONT                                                                area              will            determine                     the           magnitude                          of


          592      403      377                                                                      monopoly                      income                  Accordingly                             the            1970

                                                                                                     population                         size     of            the         Standard                      Metro
                7564          OUTS              R2       = 88 DF =                      38

               617
                                                                                                              The      linear      specification               of    the revenue              function             may
                                                                                                     be surprising                since one would normally                           expect             diminish
       Interpretation                      of        these        coefficients                  is
                                                                                                     ing returns              to       victories          However                estimated               logarith

 straightforward                       Each              one point                increase           mically              the          coefficient             between             REV ENUE                         and
 in      the    team               slugging                               raises             the     PCTWIN was 102 which was not significantly                                                                   differ
                                                         average
                                                                                                     ent from            unity          The    fact       is   that        there   is   no nonlinearity
 team win percentage by 92 points A one
                                                                                                     present           in    the        relationships                For         computational                     sim
 hundredth  point   increase in TSW in                                                               plicity        in    obtaining            the    player          111RP we chose                         to    work

 creases            PCTWIN                          by     90       points                   For     with        the      linear        specification                An intuitive                 justification

                                                                                                     for      the    existence           of linear         revenue           functions              in       baseball
 equivalent               player            performance                       National
                                                                                                     is    the      age      and         stability         of       the     industry               During            the

 League             teams           will    finish          nearly        39           points        early       period           perhaps            increasing              returns          were           present

 lower         in        PCTWIN                      reflecting               a        higher
                                                                                                     Currently there                     is   enough           uncertainty           of       outcome              that

                                                                                                     high        win loss records                    do    not       appear          to       be    associated
 absolute            quality           of       play Contenders                              and     with declining                marginal attendance
 cellar        teams               finish       44       and      76     points               re          7
                                                                                                              Noll kindly              made     the average                 ticket   price data avail
                                                                                                     able        Broadcast               revenues          were           obtained           from
 spectively                   above         or       below         other               teams                                                                                                             Sporting

                                                                                                     News p 53 Note                            that        the       definition              of    team gross
                                                                                                     revenue           employed               here    is       incomplete               It        does        not    in
       Data on PCTW IN                     TSA TSW               and    the       other vari         clude          concession                income            which            amounts                to        about
 ables    were       obtained          from         statistical        baseball          record                  cents                          nor        does              subtract             the
                                                                                                     forty                    per        fan                          it                                     visiting

 books                                                                                               teams          share         of    the
                                                                                                                                               gate
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     politan                Statistical                 Area           SMSA                   is    in     REVENUE                      function                    the       NZ         dummy
     cluded                in    the        revenue            function                 to    adjust       which           adjusts          for    returns               due to a higher

     for    the             magnitude                   of     monopoly                      income        absolute              quality          of       play      in       the     National

     Furthermore                             interteam                     differences               in    League                STD        which          is   a    dummy variable
     REVENUE                            may            exist       due           to    interteam           equal to one for the older                                stadiums located
     differences                  in       the     intensity                of    fan        interest      in poor neighborhoods with limited park
     in    various baseball cities                                     There            is   no rea        ing facilities and BBPCT the percentage

     son to believe                         that        the      marginal                revenues          of       black        players          on        the      team This                      last


     of    all        of     the       teams are the                        same The                de     variable              is     included                 because              previous

     mand              for       winning               may         be       different              from    studies           have       shown              the       existence                of    fan

     one baseball city to the next and                                                   this      phe     racial         discrimination                   in    baseball

     nomenon                     may be           quite        independent                    of    the         The         team            REVENUE                           function              was
     size of           the        SMSA To adjust for interteam                                             estimated                  with    team              data          for    1968           and
     differences                  in       the     intensity               of    fan interest              1969           The     statistical              results            are
     the      variable                  MARGA                    is        included           in    the

     REVENUE                            equation                 In        the        absence        of    10             REV ENUEt                    =            1735890

     timeseries                       data        on        average
                                                                                 ticket       prices
                                                                                                                                                                     169
     and broadcast revenues                                      by team MARGA
                                                                                                                    ? 10330            PCT1V                    ? 494585 SNIS A                       70
     is    the             coefficient             obtained                 by        estimating                                  664                                 461
     team             specific              attendance                     equations               with

     time series                   data covering                       the period              1957                 ? 512 MARGA                            580913             NI
     71 These                     team attendance                               equations            es                  428                                    184
     sentially                   estimated                  the        relationship                 be
                                                                                                                          762248 ST Dt                      58523             BBPCTt
     tween                 team percent                      win           and        attendance
                                                                                                                                 242                                     313
     over             an         extended                period             holding                some
     other            characteristics                        constant                  Wide         dif                                                         R2       = 75 DF =                    36

     ferences                    in        the         slopes              were         observed
                                 the                                        that       teams ob                     The    empirical          results indicate                        that         rais
     reflecting                            phenomenon
     tained                differential                returns             in                      their   ing the           team win loss record one point in
                                                                                 raising

     win loss                    records               This                                                creases           team           revenue             by $10330                         Since
                                                                      finding            supports
     Michael                    Canes view                   that          there are              inter    variables              have        been          specified               to       control

     team             differences                  in       the        elasticity             of    de     for       monopoly               effects         in      the       industry              this


     mand                                               The                                                coefficient                can    be    interpreted                  as       a    margi
                       for        winning                          partial             coefficient

     of    REVENUE                               with        respect             to     MARGA              nal        revenue            product   coefficient                               free     of


                                                                                                           monopoly                   effects   For   each     1                             million
     therefore                    adjusts          marginal                 revenue            across

     teams for any interteam                                       differences                 Three       SMSA              population                    revenues                 rise      nearly

     other                 variables                              included                   in     the    onehalf               million           dollars                For        each           one
                                                       are

                                                                                                           point           increase          in    the          fan       interest             coeffi

           In the           interest        of   conserving           space       these      equations     cient          MARGA               revenues               rise       $512           All    of
     are not          presented            here    The      specification         essentially       con
                                                                                                           these          coefficients            are       significant               at      better
     sisted           of     a    relationship              between             Attendancet          and
     PCTWINt                     and       PCTWINti                   plus       several       dummy       than           the     1
                                                                                                                                       percent             level         Membership in
     variables             to
                                 capture         the   effects        of   new    stadiums          fran                  National                                  is    worth
                                                                                                           the                               League                             nearly
     chise       shifts          and       entry       of    new       teams          into   the    same
                                                                                                           $581000                The        coefficient                 is
                                                                                                                                                                              significant             at
     geographical                area      PCTWINt was almost always highly
                                                                                                           the       5                       level         This          income may                   be
     significant             with      a    coefficient
                                                               range        from       603    to   5819                    percent
     PCTWINti                     was      rarely      significant           A    time series       esti   due to the higher absolute quality                                                of    play
     mate        of    team attendance                  on PCTWIN                  for   Seattle     was
     not possible                Therefore             43 observations were                  employed
     in   equation               10                                                                             9   See    the   author      1973 1974
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    in    the   NL          If    the     team plays              in       one       of     the   crude               tests             to ascertain the                        impact              of     these

    older       stadiums             it    can        expect           a   reduction              omitted                   factors                 I    found             little        evidence                 to

    in    revenue          of    about $762000                    If       this      coeffi       suggestany                             association                      with          PCTWIN1?
    cient       which        is    significant          at the             1
                                                                                    percent       Furthermore the high R2 in the                                                              PCTWIN
    level      is
                     reasonably            accurate             then           it    would        function                  indicates                    that        the        omitted               factors

    not                     profitable           for the affected                        team     do not play a very large role Nonetheless
            appear
    to build privately financed                             ballparks                     even    certain                  costs                  incurred              in      fielding                 teams
    if
          they        serve        as     multiple              sports              arenas        ought to be                            subtracted                     from player                      MRP
    Most        of     the        stadiums             built           during               the   to obtain                     a       measure               of     player          net           marginal
    1960s           cost    about $500 per seat or $25 mil                                        revenue                       products                      To          be        conservative
    lion    for a          seating        capacity           of      50000 The                    therefore                         I    will           treat           these        estimates                    as

    new Three               Rivers         Stadium              in     Pittsburgh                 gross           marginal                        revenue               products
    cost     about          $700          per    seat       or    $35               million             To            obtain                 the        individual                  player            MRP
    Thus        servicing            the    annual debt                        amounts            assumptions have                                        to       be made                   about           how
    to    about $15 to $2 million annually This                                                   individual                        performance                         affects              team aver
    factor                  explain the           domination                        of    pub     ages I will assume that individual per
                may
    licly    owned          or subsidized stadia Finally a                                        formance carries with it no externalities

    1                       increase        in        the                                    of   so        that            team performance                                       is        simply the
          percent                                               percentage
    black       players          on the team reduces revenues                                     linear                summation                           of          individual                   perfor

    by      nearly         $59000           The        coefficient                   is
                                                                                           sig    mance                         Most               team              rosters            are          divided

    nificant         at better            than the          1
                                                                percent level                     into           ten        pitchers                     and         fifteen            nonpitchers
    Overall 75 percent                     of    the variance                   in       team     Eight               of    the pitchers                        will        be      regular              start

    revenues          is    associated           with the variance                           in   ing        or         relief               pitchers                   Therefore                    we can
    the     independent                 variables           specified
                                                                                                                                                        zero order
                                                                                                       io
                                                                                                            For        example                the                             correlations            between
         The        coefficient            of    primary               interest              is   PCTWIN                   and          STD         SAISA70             and     MARGA                were         13
    PCTWIN                  From equation 10                           a   one point              03 and                        09 respectively                      Therefore               capital invest
                                                                                                  ment
         in PCTWIN
                                                                                                                 in     stadia               or    franchise            value       correlated               with
    increase                                     is    estimated                    to    raise
                                                                                                                                                                                  PCTW1N
    REVENUE $10330                               From equation                           9    a
                                                                                                  SMSA 70 has
                                                                                                  the course               of   the
                                                                                                                                    no discernible effect

                                                                                                                                         investigation
                                                                                                                                                                           on

                                                                                                                                                                        an attempt             was made
                                                                                                                                                                                                         During

                                                                                                                                                                                                                   to


    one point              increase        in    TSA        or       TSW raises                   specify managerial quality into                                       the     PCTWIN function
                                                                                                                 was
    PCTWIN                  by     92       and        90         respectively
                                                                                                  This

                                                                                                  PCTWIN
                                                                                                                           approached                    by     estimating               the        managers
                                                                                                                           record             regressed            on     their     teams            TSA        and

    Therefore               the    marginal             revenue                product            TSW            It     was         argued           that       differences             in    the    slopes        of


    of    hitters      and pitchers               is                                              these          coefficients                would        serve         as a managerial                  quality

                                                                                                  index          These    coefficients however were not related to

         MRP hitters= 92 x $10330                                                                 current             team performance and hence    the results are

                                                                                                  not       reported here

                                  = $9504                                                                   Both                         and        team                                              be
                                                                       TSA
                                                                                                       11
                                                                                                                        player                                  externalities
                                                                                                                                                                                             may             pres
                                                 per point
                                                                                                  ent       in                                    baseball           In    view         of     the
                                                                                                                  professional                                                                           bitterly


    MRP pitchers = 90 x $10330                                                                    competitive                   environment                   in     professional              sports        it    is


                                                                                                  likely         that      the magnitude                   of      these      externalities           is   small

                                  =$9297 per 1100                      point             TSW      One        players                performance                 can       affect        anothers             posi

                                                                                                  tively         or negatively                      But       there        seems         no        way     of     in

                                                                                                  corporating                   externalities               explicitly             into       the        revenue
         However                 there      are       several              complica               function                                                                                           MRP
                                                                                                                       Therefore                  possibly the             estimates           of                 for

    tions Since             the production                  function                 omits        above below                                                           could       be       biased        down
                                                                                                                                        average          players

    a    number        of                       the                            revenue            ward upward                           to   some        small unknown                   degree          For the
                                 inputs                marginal
                                                                                                  problem             of   team externalities                        see      Canes Furthermore
    products          of    the players           may be overstated                               in    the equation                    in   fn 14        where         individual            batting        aver
    Several         omitted         factor
                                come readily      inputs                                          ages are             regressed              on     a   number            of   variables            including
                                                                                                  the                                                                the                     the
    to mind such as managerial quality entre                                                                rank       or order              of    finish       of
                                                                                                                                                                              team                  coefficient

                                                                                                  is    insignificant                    A        reasonable            interpretation                of     these
    prenurial              player          drafting             and             trading
                                                                                                  results         is    that            team        performance                 does      not       affect        the

    abilities         and stadium investment In some                                              individual               players performance
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      assume reasonably that an average pitcher                                                         the       team          at          bats        arbitrarily               as        an        ex
      with a SW ratio of about 200 will con                                                                                     calculate                Aaron                                 worth
                                                                                                        ample             I                                                 to       be

      tribute            025                  = 125 x 200                         points           to   $520800                Using              Nolls coefficients                           in     an
      TSW             Of the nonpitchers                              or hitters             about      average               size          baseball              city           Aaron              was
     twelve            will        be     regular              players              or      substi      worth        $225000                      because              he    was           one        of

     tutes            Thus          we assume that an average                                           two        players              with        superstar                status              plus
     hitter           with         a SA  of 340 will contribute                                         $375000               because              he    would              be    the          differ

     283          = 08333                 x   340         points            to     TSA                  ence       between               victory          and defeat                   in      about

          Gross          marginal                  revenue             products                  were   20    games Thus by Nolls method in                                                      1971

     calculated               for                              of     various               talents     Aaron        was           worth            about          $600000                     Nolls
                                          players
     and       are      presented                   in    the         first       column           of   results      would seem to confirm                                    the order               of


     Table            1 The               outstanding                   characteristics                 magnitude                  of       the    MRP            in    Table              1
     of    these        estimates                  are        their         sheer           magni            As a second                    comparison                  David              Daven
     tude Even                 mediocre players contribute                                         in   port        by         a        crude           procedure                    estimated

                         $200000 to team revenues while                                                 Sandy        Koufaxs                  MRP at $617554
                                                                                                                              9
     excess       of
                                                                                                                                                                                               Using
     star players                  have        MRP several times that                                   equation                         dividing             the       PCTWIN                        co
     amount                                                                                             efficient in            equation                10 by the 1969 aver
          How realistic                    are these                MRP estimates                       age
                                                                                                                  ticket       price          to    obtain             marginal             atten

     Such a question                               difficult           to        answer                 dance         multiplying                       by    the           1966
                                              is
                                                                                                 pre                                                                                      average
                      since        these           are    the         first       set       of          ticket price                and noting                that          Koufax had a
     cisely                                                                                      sys
     tematically estimated                                MRP for any occu                              SW ratio              of     412           in   1966           his    last         season
                                                                                                        and                             222                                      the        teams
     pation However                            some comparisons can be                                            pitched                           percent             of


     made         which                                  that         these         estimates           innings          I    estimate that                   Koufax              was worth
                                    suggest

     are    of        the                     order                                              Noll   about        $725000
                              right                       of        magnitude
     recently            estimated                   a        statistical               demand               To     obtain              player net                marginal             revenue
     curve        for    baseball                  In    his analysis                  there are        products the compensation to other inputs
     two variables                      which                                 the                       and firm specific training or player devel
                                                         capture                        players
     contribution                    to        team                attendance                    One    opment costs                    need        to       be    subtracted                    Un
     variable           is   the        teams number of games                                     out   fortunately                 this      cannot              be    done precisely
     of   first       place          This          variable                      akin       to    the   because          of    data limitations                         However                  it   is


                                                                                       9
                                                                        is


     PCTWIN                   variable               in       equation                           The    possible to crudely                         measure           average costs
     second           variable                is     a                                                  in   baseball           and subtract                      them from player
                                                          superstar                    variable
     which            Noll         interprets                  as                                 the   marginal              revenue             products              In       view       of      the
                                                                       capturing
                                                                                                        fact      that        little        correlation                was discovered
     effect       of     superstars                     on         attendance                inde
     pendent            of    their contribution                             to     team vic            between           PCTWIN                    and       a    number                 of    non
     tories Neither                     variable              is
                                                                    statistically                con    player       inputs              this
                                                                                                                                                    may be an appropriate
     vincing2                 Statistical                     significance                              procedure             a priori In               undertaking                   this
                                                                                                                                                                                                 pro
                                                                                            aside
     some         useful             comparisons                       can         be       made        cedure        I       have           been       guided by two prin

     Taking            Hank             Aaron who                      in        1968       had a       ciples       First              I    chose           to    overstate                   other

                                              of    498 and                 11                     of   factor      costs          so that          the net            marginal                reve
     slugging average                                                             percent
                                                                                                        nue       products              may         be       viewed              as    a       lower

                                                                                                        bound        Secondly                     where       stated             costs          such
           The    1   values        for   Nolls         games         behind       variable       was
                                                                                                        as    administrative                       expenses                  appeared                 to

                                     7
     136    while       the    1   value       for      the    superstar          variable        was
     18    see    equation                     Since          there    is    a    great     affinity
                                                                                                        reflect     attempts                 to hide          profits            I    chose to
     between      the    games          behind          variable       and       the   PCTWIN           work       with the                 smaller          cost                           These
                                                                                                                                                                        figures
     variable         Nolls                                     results       can      be
                                   relatively        poor                                   reason
                                                                                                        factors      will       become clear                      in   the discussion
     ably interpreted              as caused        by collinearity              between         team
     wins and the           number of superstars                                                             In    the        course          of    the       Curt Flood litiga
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               the industry presented                                                    on          TABLE           ESTIMATED           MARGINAL        REVENUE
     tion                                                          testimony                                     1



                                                                                                          PRODUCTS          AND    SALARIES     OF    AVERAGE
     some         aspects         of        its     costs          Noll        utilized
                                                                                                           CAREER LENGTH BASEBALL PLAYERS
     these data             study on the profitability
                            in his


     of     sports franchises  Using Nolls data four                                                                       Gross                Net

     general        categories               of    costs        can       be    identi                                Marginal                Marginal

                                                                                              Performance                 Revenue             Revenue
     fied      1       team        costs           which           include         prin        SA         SW
                                                                                                     or                   Product             Product               Salary
     cipally        roster        and team               specific         nonplayer
     salaries           2      game               costs        which            include                                            Hitters

                                                                                                     270                  213800               85500                31700
     transportation                costs           for       eightyone             away              290                  230000              101700                34200
     games          equipment                     stadium           rental          etc              310                  245200              116900                36800

     3 general              administrative                   costs        which are                  330                  261400              133100                39300
                                                                                                     350                  277500                                    41900
                                                    the      front                                                                            149200
     principally             salaries         of                          office     per             370                  292700              164400                44400
     sonnel            and     4       sales        costs           The        average               390                  308900              180600                47000
     team in 1969 had team costs                                   of   $1072 mil                    410                  325000              196700                49600
                                                                                                     430                  340200              211900                52200
     lion     The       average         player           salary         in   1969       was
                                                                                                     450                  356400              228100                54800
     $25000 for a total average                                    roster       cost     of          470                  372600              244300                57400
                            Distributed                             the                              490                  387800              259500                60000
     $625000                                             over                  twenty
     five    man roster this yields nonplayer team                                                   510

                                                                                                     530
                                                                                                                          403900              275600                62700
                                                                                                                          420100              291800                65300
     costs     of      about       $14000 per player                               Mini              550                  435300              307000                67900
     mum          game         costs          were           $800000             These               570                  451400              323100                70600

     costs     ought         to be spread                over       the principal
                                                                                                                                  Pitchers
     team personnel                     that        is    players coaches                            160                  185900               57600                31100
     and managers Dividing                               conservatively                              180                  209200               80900                34200
                                                                                         by
                                                                                                     200                  232400              104100                37200
     30       per      player           game             costs          amount           to
                                                                                                     220                  255700              127400                40200
     $26700             Similar procedures                          for      adminis                 240                  278900                                    43100
                                                                                                                                              150600
     trative        and      sales       costs          yielded                                      260                  302200              173900                46000
                                                                         per player
                                                                                                     280                  325400              197100                48800
     costs     of      $13300           and $3300                   respectively
                                                                                                     300                  348600              220300                51600
     Total        nonplayer             costs        per player                amount                320                  371900              243600                54400
     to     $57300            This          leaves           two        costs      to    be          340                  395100              266800                57100
                                                                                                     360                  418400              290100                59800
     accounted              for capital                 and     training            Cap
     ital     investment               in    sports          franchises            is    an
     elusive        concept             Classically                 we       think       of   ports the average cost of player develop
                    investment               as plant and                equipment            ment is about $300000               This
     capital                                                                                                           per player

     necessary          for    theproduction                       process          Cap       estimate         is    derived         by dividing              the    entire

     ital     investment               in         sports      franchises            con       cost    of       minor         league          operations             by   the

     sists    of    the      purchase              of    a    monopoly              right     number        of       players        promoted           to the        major
     and player contracts                    a monopsony right                                leagues       Such an estimate                    of    training costs

     In      some       cases          stadiums are owned but                                 is   a gross       overstatement                 However              taking

     more frequently                    they        are       leased           Contro         the    figure          at    face     value       this     amounts             to

                aside        as    to    what constitutes                       capital       an     average          annual         cost     of     about $43000
     versy
     in     the industry           and            whether           this     has    any       per    player           average            player        life    is    seven

     thing        to    do    with the              productive                 process        years Therefore                       figured     in    this     way       the

     the                      value          of     a    baseball franchise                   total       annual           cost     of    fielding       an     average
              average
     is     $84     million             Figuring              an        opportunity           career       length           player        amounts             to     about

     cost      of      10    percent               capital          costs       spread        $128300 plus his salary
     over      the          team        amount                to    $28000              per
                                                                                                   The     net       marginal            revenue       products          for

     player         Finally            according              to        industry         re   players       with an average                    career         length     are
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  presented             in    the second           column of Table 1                       baseball simultaneously                                        is   an offensive                    and

  Subtracting                 such        costs        substantially             re        defensive                team sport Disagreements about
  duces        the                  marginal revenue                 products                                                                                                     on which
                        gross                                                          performance                          may         partly               depend
  of     the     players Note                    however            that       even        aspect         of        the     game           is     thought more impor
  mediocre              players          with      an       average           career       tant          The          variables                 appearing                     in        the        re
                 have         net     marginal               revenue                                               below are thought                                  to be        the         best
  length                                                                       prod    gressions
  ucts      in    excess        of       their estimated                 salaries                                                               measures                    of     offensive
                                                                                           single             independent
  Clearly          if    the    per player              training          invest           and       defensive                 player                performance                             avail
  ment cost              of    $300000            is
                                                       accepted           at face          able       The            variables                  were            not         selected                on
  value          mediocre players at some point                                 less                                                                            Rather
                                                                                           entirely a                priori          grounds                                            experi
  than       the        average          career        length        will      have    mentation  with every known measure of

  negative              net    marginal            revenue           products          performance   was undertaken and   then
  Two       final       points are    worth                  making            First   these              performance                             measures                       were              se
  training           investment              may            vary     with        the   lected
  quality          of     the        player            Second            pitchers             Statistically                        four         factors                seem             impor
  may       require a greater                    training          investment          tant in the                    determination                             of    major league
  than hitters                My suspicion              is   that    mediocre

  players          require           more         training           than        su            I    was        guided        initially          in      the     specification                 of    the

                                                                                                                                  measures                     the
                 players Thus                                                          player        performance                                       for             salary        equations
  perior                                                            costs
                                                 training                      may             the                           work               Pascal           and
                                                                                                                                                                  For
                                                                                       by                previous                         of
                                                                                                                                                        Rapping
  be understated                    for the       below                         and
                                                               average                 hitters           they       tried    lifetime           batting     home runs
                                                                                                                                                                average
  overstated             for the          above        average           players       times        at    bat       last
                                                                                                                            season         age and education The per
      also suspect             that                                                    formance measures                      for    pitchers were                games won                        full
  I                                       training costs             are       over                                                                                                         per
                                                                                       season         played              innings         pitched          per       full     major           league
  stated for the                hitters      and understated                     for
                                                                                       season            total
                                                                                                                      major         league         games             won         total        major
  the pitchers                                                                         league innings pitched                        total        seasons pitched                  and        differ

                                                                                       ences between                  performance                 last     year       and        lifetime          per
                   IV Salary Determination                                             formance                In    one form           or another               these           variables          ex
                                                                                       plained a considerable                       portion          of   the variance             in       players
       In   order         to    test      the      salary          model out           salaries          see         their     Table            3         Additionally                  for    non
  lined        data are required on player                               salaries      pitchers           I    calculated           such measures                as total bases                    runs

                                                                                       produced                extra       base     power              best     at    getting           on     base
  and       performance                   Baseball            unlike          other
                                                                                       base        stealing           and     fielding          average              Such        measures            as

  sports         where        player        salary          information           is
                                                                                                                                   earned         run                            hits       divided
                                                                                       pitching           percentage                                           average

                                           the                                         by                 batters                         and      games                                    divided
  guarded            publicizes                    salaries         of   its    ball          total                         faced                                completed

                                                                                       by games               started were           tried        for     pitchers           Furthermore
  players Frequently                        the press          is    used as a
                                                                                       I    considered             certain factors not                  explicitly          related to past

  bargaining             tool       in
                                          salary        negotiations             by    performance                   Since         salary       negotiations                 are     based          on

                                     inside            information                                                                   there              a certain                  associated
  communicating                                                                  on    expected           performance                             is                        risk

                                                                                       with the           prediction               Past deviations                   from        average           per
  player       demands              and owner               contract        offers
                                                                                       formance seemed                      like   an     appropriateway of incorporat
  Thus         annually             there    is    widespread               public     ing expectations                    into     the    salary model I also believed

  information                                                                          that                                                                    were
                              on individual player                       salaries                  required          performance                levels                      likely      to    differ


                                                                                       position          by        position          at    least        in      the     means and                   at
  Additionally                 there  per   is     a    wealth           of
                                                                                                          to       take     such        differences             into        account
                                                                                       tempted                                                                                                along
  formance data on teams and players Base                                              with        the interclub                                             differentials              I    believe
                                                                                                                             average           salary

  ball      statistics          on                      and        team                no     important factor                     was     left      uninvestigated                     The        fact
                                          player                                per
                                                                                       that      one performance measure                               or another or one plausi
  formance are the best                          of
                                                       any sport                       ble    effect          or another does                  not appear             in     the     regression
       Furthermore                       baseball            owners             and                                                                       mean
                                                                                       equations reported here does not                                               that       the measure

                 alike agree              that                     and player          or the       effect          was     not associated                with        salary       variations
  players                                             salary
                                                                                       Quite the              contrary         most of          the       effects      described              above
  performance                 are    related           and    that       playing
                                                                                       frequently              were highly           correlated with                   players              salaries
  performance                  is        measurable                 However            but    their      unique           effects    could         not be isolated                 For        exam
  there is                                                                                                                                                              and
                 disagreement over which measures                                      ple batting                 averages        lagged         one      period                  percentage
                                                                                       deviation              of    the    lifetime        batting             averages          were        signifi
  accurately             reflect          performance                    Part     of
                                                                                       cantly        related          to    hitters        salaries            but    not        independent
  this      controversy              is    due         to    the    fact       that    of    lifetime          batting       average
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     ball                        salaries              These               factors           are       mately nine x games x years                                                       as     another
              player

     hitting or pitching                     performance                        the weight             important dimension                                      of    the pitchers                      con
     of    the    players contributions                                    to    team per              tribution

     formance               the        number               of        years       spent           in         Player        salaries              appear                 to        rise      automat
     the     majors               and        the        greater                 bargaining             ically       over     time Therefore                                      years spent
                                                                                                                                                                                                              in


     power        of    star or superstar                                       players                the       majors         M      affect               salary              independently
          One      factor       which governed  the selec                                              of    average
                                                                                                                            lifetime performance                                           This inde
     tion    of    the      performance measures was that                                              pendent             effect           of      time                may              be      a      pure
     they         be     independent                         measures                 of     the       seniority           effect            or            it
                                                                                                                                                                     may             measure              the

                       contribution                to    team performance                                                  contribution                               of        experience                    to
     players                                                                                           separate
     For     hitters             the    performance                        measure               se    playing            ability                However                             M      seems             to

     lected        was lifetime slugging                                   average           SA        measure             the phase in the career                                                of      the

     The      lifetime            batting                                       which              a   ballplayer            and hence may adjust                                                perfor
                                                    average                                 is



     more         popular              measure                   of     performance                    mance         for     trend
     does not           take          into    account                 the       number            of         In    view      of       the fact                      that        size       of   SMSA
     bases       advanced              on a hit although number                                        intensity           of    fan        interest                   and           membership
     of   bases advanced                     is   critical            in   scoring          runs       in    the     National                League                    affect            team reve

     and      hence             winning            games                   Admittedly                  nues         one      might                suspect                   an        influence               of


     some        excellent             hitters          have               low    slugging             these        variables               on     player                   salaries              It     is      a

     averages This                    difficulty             was overcome                        by    common              notion                that                players               are         more
                                                                                                                                       the        National                                        and
     specifying             a    dummy variable DBA                                    in    the       highly paid               in                                             League                        in


     hitters           salary          equation              which              was        equal       the       larger SMSAs                          Economic                       theory            can
     to unity for those players                                  with below                aver        not       answer          this       question                       a    priori           On       the

            lifetime slugging                                                   but     above          one hand there                       is    the           view that the strong
     age                                            averages

     average            lifetime             batting                  averages              The        monopsony power                             of           a    monopolist                  located

     weight        of       the       hitters           contribution                    AT        is   in     a     large            market                         would            yield            lower

     specified          as       his    total          lifetime             at    bats        di       salaries        for       such             teams                    Consistent                   with

     vided       by his number                    of    years          in       the   majors           this      view would be                         the greater                       demand               of


     times       5500            the average                 season at bats for                        players         for       location                   in        the         large         SMSA
     a    major league team The variable                                              AB     is   a    Players          derive              nonbaseball                              income             from

     measure           of    the       players percentage                              contri
                                                                                                             This point         is   discussed             in       more detail in              the    author
     bution        to    team performance
                                                                                                       1973 To determine whether the                                        Al    coefficient         largely

          Pitching          performance                     is   more difficult                  to                                         increases                over
                                                                                                       reflected    productivity                                               time career            batting

     measure            The           most common                           measure               of   averages      for    individual              major              league            outfielders          on

                                                                                                       teams in 1971        were estimated with                            the following              statisti
     pitching           performance                     is       the        earned           run
                                                                                                       cal   results

     average            However                   the            measure              is    vir

     tually uncorrelated                      with salary Pascal and
                                                                                                                  BA = 1299 + 1483 NL 1863 RANK
                                                                                                                                94                63                            47
     Rapping            found           that        the           win loss record

     was     related             to     pitcher              salary              However
                                                                                                                                +     8850          BA ?                9030          Log       M
                                                                                                                                      1745                              450
     neither       measure              of   pitching                 performance                 is


                                                                                                                                                                           R2     = 42 DF = 725
     independent                 of   team performance                                Neither

     measure            uniquely              measures                  the       pitchers                 The     specification                                that        the      ith    individuals
                                                                                                                                            argues
     contribution                to     the       team                In    this
                                                                                       study           batting     average       in   season           t   is       determined           essentially          by
                                                                                                                          career                                            or the         mean
                                                                                       SW
                                                                                                       his lifetime                   batting          average                                        batting
     the lifetime               strikeout          to walk                  ratio                 is
                                                                                                       average      and    the       length       of       time       in       the   majors Neither
     employed               as    the        single          best           measure               of   NL nor the order of the finish of the team have an in
     pitching           performance                     I        also                        the       dependent effect on BAt The results suggest about a
                                                                            specify
                                                                                                       9   point    increment          in   BA         per season                    Converted          to    an
     lifetime           average              percentage                     of        innings
                                                                                                       elasticity    at the      mean            productivity                   increases        about        35
     pitched           out       of    total       innings              IP       approxi               percent     per season
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  advertising             firms and               other          sources        which               The          salary              sample               is     nonrandom                 and

  are    located           primarily in the                        large       coastal         biased  toward the upper tail of the salary

  population               centers            On        the          other         hand        distribution  There are 148 observations
  there       is    the    view that withih a bargaining                                       87        of    which            are       for        1968        salaries         and       the

  framework                labor       players would share                               in    remainder                  for    1969               Of the 61 observations

  monopoly profits                      Hence               this     view would                for       1969 41                of       the players                  also    appear         in


  predict           higher            salaries          where            monopoly              the        1968        sample                  Therefore                there are           107

  profits are             large        As an interesting                       empir           nonrep eat observations                                         The         salary       range

  ical    test       SMSA 70 MARGA                                  and       NL are           in        the         observations                     is       from          $10000          to

  included           in   the     salary regressions                                           $125000                    with            34          observations                      below

        Finally players                 of    rare          talent         the     stars       $25000                 Thus               about             25     percent            of     the

  and     the       superstars               command                 salaries           ap     sample is in the lower end                                        of   the     salary        ob
  parently in excess                    of    their relative                   contri          servations                  In        our           judgment                  enough         ob
  bution           to the       team This               introduces             a    non        servations over                           the        whole        salary        range        are

  linearity           into       the        salary          equations                The       present to make                           inferences              about the popu

  nonlinearity                  may         be         explained              by        the    lations           The mean                          salary       of    all    the players

  greater            bargaining                   strength               of        these       in    the       sample was $48100                                 This figure may

  players There are very few substitutes for                                                   appear            high           but           it    does        not        compare          un
  star    players               Alternatively                      the     marginal            favorably              to the reported average                                     salary     of


  revenue                                     star                                       be    $42200                in     1970              of     209         veterans           on      the
                     products of                            players           may
  higher            than   their                 performance                    would          major league                      teams
  strictly          warrant             While           I    have        not       been              The         player               salary               regressions              are      as

  able     to       confirm           the    fact       empirically                  fans      follows

  may be drawn to the ballpark                                       on the        mar
          to       see     these                                                          of   11              Log    Skitters            = 6699               + 10716 Log374
  gin                                   players             independent
  their       performance                    To         account             for         this
                                                                                                                                                   82            476
  effect       the       salary regressions                       are estimated                                       + 5220 Log M + 0579 Log Dizi
  logarithmically                                                                                                      753           161
        There       were two primary sources                                   for      the

  data        used        in    the     salary          equations                All      of
                                                                                                                      + 2746 Log AB
                                                                                                                        310
  the     values           of    the        independent                    variables

  were obtained or calculated                                     from or based                                             0621 LogSMSA                              70

  on The            Baseball          Encyclopedia                    The        salary                                         78
  data were made available                                  to    me by Pascal
  and Rapping and hence                                     the
                                                   same salary
                                                       is
                                                                                                                      + 2645 Log MARGA
                                                                                                                        281
  sample as used                  in    their study Their data

  were        obtained            from            reported            salaries            in                          I     0194              Log         NL
  twenty           local
                               newspapers               and The Sporting                                                        62
  News There is                   reason           to believe               that        the
                                                                                                                                                           R2     = 81 DF = 85
  data are           fairly       accurate                  but      equally            im
  portant           there is          no a priori reason to think
                                                                                               various         data       see    Pascal             and    Rapping          and   the     author
  that     reporting              errors          if
                                                        any          are      system
                                                                                               1974
  atically related to                             of   the variables                used
                                       any                                                          16
                                                                                                         See    the   testimony                of   John Clark              Jr Curt Flood
  in    the    analysis                                                                        Court          Transcript             p    1660
                                                                                                    17
                                                                                                         Since current                                           on   last              lifetime
                                                                                                                                 salary depends                              years
         Pascal     and                                     the    salary     data      with   performance                all    of       the       independent              variables      were
                            Rapping         verified

  Marvin                                                                                                                values                                             under the
                Miller         head    of   the    Major           League      Baseball        lagged        year The
                                                                                                               one                        1                appear                         regres

  Players          Association         For       further          discussion       of    the   sion coefficients and log values                            are   to   the base      10
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     12           Log Spitekera             = 33845                  + 8076 Log SIT                   formance              measures                were             set        equal            to

                                                      416              400                            their         respective           population                    means                For
                                                                                                                      M was equal to 8
                        + 5015 Log M ? 9698 Log IP
                                                                                                      hitters                                                    in    the        sample
                                                                                                      while         pitchers                         about            six                        in
                          770          422                                                                                          spent                                        years
                                                                                                      the    majors The                shorter playing                          careers          of

                                 0534       LogSMSA 70                                                pitchers         is    well      known                 On       the        average
                                 53                                                                   pitchers        have about 14 percent                                of    the total

                                 0619       Log        M A RGA                                        innings         pitched          during               a    regular           season

                                 61                                                                   This     is
                                                                                                                     equivalent           to    about 207                   innings              or

                                                                                                      23    game       equivalents              Average                hitters             have
                                 0070       Log        NL                                             about      7    percent       of    the at bats                  Above aver
                                 20                                                                   age     hitters        are       paid         somewhat                    more         for

                                                            R2       = 78 DF =                   48   their      performance                   ceteris            paribus                  than
                                                                                                      above                       pitchers               Undoubtedly                        this
                                                                                                                    average
          The main determinants                                  of   player          salaries
                                                                                                      reflects        the    effect       of        a    two          year        average
    are except              for       one case                  MA which                  is
                                                                                               sig    difference      in time spent in the majors
    nificant           at the         10 percent level                         all    signifi
                                                                                                      However        below average hitters appear to
    cant     at the          1
                                 percent               level         or better            Over
                                                                                                      earn     less than  below average pitchers In
    all      78    to       81    percent                  of    the     variation               in
                                                                                                      part     this     may        be     due to the fact                          that          as
    ballplayer              salaries             is        accounted               for         The
                                                                                                      good starting pitchers age they                                              can           be
    remaining               variance              may           reasonably be                   at    used effectively by starting them                                           less      fre
    tributed           to the          vagaries                 of    the     bargaining
                                                                                                      quently         and using           their          skills       in        relief       On
    process However                          as        can be            readily           seen       the    other     hand effective                       hitting         cannot           be
    the    salary process                   in
                                                      major league baseball                           improved by resting the batter
    is    quite        deterministic                        The         concept                that

    ballplayer              salaries             are        related            to     perfor                  V The Degree of Monopsonistic
    mance          seems reasonably well confirmed                                                                  Exploitation           of Professional

          With                                                                                                                     Ball
                       regard          to    the            effect       of      SMSA70                                                    Players

    MA RGA and NL                                it    can readily be ascer                                Once knowledge                 of   player            marginal                  reve
    tained        from the equations that while these                                                 nue product             and salary                                                          a
                                                                                                                                                        is
                                                                                                                                                                obtained              it    is


    variables           play a substantial                            role in        revenue                                             matter                 to    obtain               esti
                                                                                                      relatively            simple
    determination                     for    teams                   they      have            vir    mates of the degree                       of      monopsonistic                       ex
    tually        no    effect        on player salaries Particu                                      ploitation             In     Table               2       gross           and         net

    larly     noteworthy                    is        that       the    SMSA              70    co    marginal          revenue           products                     salary               and
    efficient          is    in       fact        negative              but          in    both       rates      of    monopsonistic                         exploitation                   are
    cases     insignificant                  The            SMSA            size      has       no    presented           for     three        categories                  of    players
    effect        on player             salaries                 While         the        abso        Mediocre                            are           assumed                  to        have
                                                                                                                          players
    lute     quality             of   play            is    higher          in      the        Na     career        lengths       of     four           years with hitters
    tional        League               this           effect         does        not                                 50                                 the team at bats
                                                                                           raise      having                percent            of

    player         salaries             Finally                  intensity            of       fan    AB and pitchers                     having                100 percent                      of

    interest           MARGA                 does not                 affect       pitchers           the         pitched IP Average
                                                                                                             innings                      players
    salaries        but does contribute                                                        and    are assumed to have career lengths of seven
                                                                      positively

                                                                                                      years with AB= 80 percent and IP= 140
    significantly                to hitters salaries

         In the fourth                column                     Table                                percent assumed Star players are assumed
                                                            of                       the
                                                                               1
                                                                                           pre
    dicted        salaries            of     the                                                re    to    have
                                                           ballplayers               are                              career       lengths              of      ten    years with
    ported         In       determining                     the       predicted                sal    AB= 100 percent                     and           IP= 180                  percent
    ary       the       variables                     other          than          the     per        On     the      basis       of     an         analysis               of     hitters
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                          TABLE   2   MARGINAL    REVENUE       PRODUCT SALARY   AND   RATES   OF   MONOPSONISTIC
                                       EXPLOITATION     FOR THREE QUALITY   CATEGORIES    OF   PLAYERS


                              Gross                     Net                              Rate of                    Exploitation
                                                                                                    Monopsonistic
      Career                Marginal              Marginal
   Performance               Revenue              Revenue                          GMRP SGMRP                 NMRPSNMRP
    SA   or    SW            Product               Product              Salary         Columns      242        Columns 343


  Mediocre Hitter         32=4 AB = 5 0 percent
         255                 121200          39100                       9700
         264                 125500          34800                      13900
         273                 130200          30100                      17200
         283                 135000          25300                      20000
     Total                   511900         129300                      60800                  88                      147

  Mediocre      Pitcher    f==4=100 percent
       150                    139500                  20400              9000
       155                    144100                  16200             12800
       161                    149700                  10600             15700
       166                    154300                   6000             18100
     Total                    587600                  53600             54800                  91                      202

  Average      Hitter    32=7i43=80          percent
         305                  231900                   103600           14100
         316                  240500                   112200           20300
         327                  249000                   120700           25000
         338                  256600                   128300           29100
         350                  266100                   137800           32700
         362                  275600                   147300           36000
         375                  285100                   156800           39000
     Total                  1804800                    906700          196200                  89                       79

  Average      Pitcher    11==7LP=14 0 percent
      200                     260300                   132000           16500
      207                     269600                   141300           23300
      214                     278900                   150600           28600
      222                     288200                   159900           33000
      230                     297500                   169200           36900
      238                     306800                   178500           40500
      246                     316000                   187700           43700
     Total                  2017300               1119200              222500                  89                       80

  Star Hitter       M=10 AB= 100 percent
         385                  365900                   250600           20400
         398                  378300                   263000           29400
         412                  391600                   276300           36300
         427                  405800                   290500           42200
         442                  420100                   304800           47400
         457                  434300                   319000           52100
         473                  449500                   334200           56500
         490                  465700                   350400           60500
         507                  481900                   366600           64400
         525                  499000                   383700           68000
     Total                  4292100               3139100              477200                  89                       85

  Star Pitcher      M=10 IP=1 180 percent
      260                     437      00              321700           27200
      269                     446      00              331000           38500
      279                     464      00              349600           47200
      288                     483400                   368100           54500
      298                     502000                   387500           61000
      309                     520600                   405300           66800
      320                     539200                   423900           72100
      331                     557800                   442500           77100
      342                     576400                   461100           81800
      354                     595000                   479700           86300
     Total                  5122600              3969600               612500                  88                       85
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     career               performance                           all    players                were         as   under the reserve                         clause            through               the     in
     sumed                to increment                          their       performance                    at   troduction                   of    monopsony power                                Empiri
     the        rate           of    35        percent                per        season                  The    cal      analysis confirms                       the       existence               of    this


     principal                  difference                 in     the       marginal                 reve       exploitation                  and suggests that                        it    is   of    con
     nue products                         of   the categories                          of   players        is   siderable            magnitude                       The          exemption                of

     due to higher lifetime performance levels                                                                  organized baseball                        from the antitrust laws
     and greater utilization of the better play                                                                 has      created                  such    player            economic                rents

     ers         The            principal                 difference                   in      the       net    The      decision             of    the    Supreme Court against

     marginal                  revenue            products                  arises            from the          Curt Flood by no means removes                                               the issue

     higher gross                        marginal                revenue               products            of   The      players              are increasingly                    militant over

     the        better              more intensively                              used players                  the      reserve             clause       and         have        made known
     and         the           longer           career                length       over which                   their desire                 for modification                     of        the    clause

     training                  costs       are        recovered                        The      rate       of   in their collective                      bargaining                negotiations

     monopsonistic                             exploitation                       in        the       fifth     In    the      last          round         of
                                                                                                                                                                     negotiation                  players

     column                    which           relates salary                      to       the                 obtained             a       concession               of    binding               arbitra
                                                                                                     gross

     marginal                  revenue            product may be viewed                                         tion     of    salary disputes                       but player initiated

     as the           upper bound                         of     player           exploitation                  transfers            still         are     not        possible                Further

     while                the        sixth           column                  which                  relates     more            Congress                  is         currently               studying

     salary               to    the       net        marginal                revenue           prod             the      problem                  and     some             alternatives                 may
     uct may                   be        viewed            as the lower                     bound               emerge          I    can           only mention and comment

       As examination                                of     Table           2    reveals             play       on the         implications                     of    some         of       the    major
     ers       are generally exploited                                   to a large degree                      suggestions

     in        major league baseball                                    The            exploitation
                                                                                                                     One proposal would place                                     baseball play

     index            is       bounded               between                 0     and          1    when       ers      under a contractual                               arrangement                   like


     MRP>                  0 A value of 10 indicates complete                                                   pro      football                 Under        this    system known                        as

     exploitation                    and zero indicates no exploita                                             the      Rozelle                  Rule          a player           can play out

     tion Considered over                                        career          length              aver       his      option          and         become            a     free       agent            but

                players receive                                                                      about      since theteam purchasing the player must
     age                                              salaries
                                                                            equal to
     11        percent              of    their                        and about 20 per                         come to terms with the team for whom the
                                                      gross
     cent            of    their          net        marginal             revenue prod                          player         previously                 played             player initiated

     ucts            Star players receive                               about 15 percent                        transfers            are          an illusion              A similar idea                  in

     of        their
                  marginal     net                                    revenue               products            the proposed  NBA         merger agree          ABA
     Only mediocre players have                                                 salaries in              ex     ment would produce similar consequences
     cess        of        their          net     marginal                   revenue                 prod       Under their proposal                             a player               can submit

     ucts            On the whole                     therefore                   it    seems that              a salary dispute to                       nonbinding                   arbitration

     the         economic                      loss         to                                        ball      If   still    dissatisfied                the player              can switch to
                                                                      professional
                           under               the    reserve                clause             is    of    a   another         team only                  if    the       two teams agree
     players

     considerable                        magnitude                                                              on a transfer price
                                                                                                                     A       second               popular             proposal                revolves

                               VI Policy Implications                                                           around    system of
                                                                                                                                a                                longterm                   contracts

                                                                                                                Here players would                               be        free     agents              until
           Economic analysis points                                              to the            exploi
                                                                                                                they         sign        a    contract           for       five
                                                                                                                                                                                    years or              so
     tation               of    the       professional                      baseball player
                                                                                                                Their         free       agent       status           would revert at the

                                                                                                                expiration                   of    the     contract                Such         a sys
          18
               See    fn       14    Treating             all    players          both        hitters    and    tem would partially                             redistribute                 economic
     pitchers             over       the       quality                      of                             as
                                                                 range             performance
                                                                                                                rents         would recover                     team player develop
     incrementing                their     performance                 at   the        rate   of    35   per
     cent
                per season
                                     is   arbitrary                                                             ment costs and would have minimal effect
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     on       the            equalization                   of          team         playing             colleges            will       subsidize player             development

     strengths                                                                                           costs         in    baseball as          they do       in    football      and

           The         most         radical            proposal                is    a        com        basketball                 With         modification           in    the    re
     pletely free             labor       market with                        all   contracts             serve         clause           the players could              benefit      and
     for     a        full        season          being            negotiated                      off   the      game need               not suffer

     season              This           proposal                 would             eliminate
                                                                                                                                         REFERENCES
     player           economic            rents             Organized baseball

     argues           that        such       a    scheme would                       destroy
                                                                                                         M E Canes Public                               Policy       Toward         Pro

     the                                                    to     the        rich
                                                                                                             fessional            Team Sport              in   R G Noll ed
             game They                    point                                          owner
                                                                                                             Government                   and      the     Sports            Business
     who      could           not       be       prevented                   from buying
                                                                                                             Washington                  1974
     all    of    the        good        players They argue that
                                                                                                         J Clark Jr Testimony Curt Flood Court
     investments                        teams would be unattrac
                                                                                                                                    407 US 258
                                   in
                                                                                                           Transcript Flood vs Kuhn
     tive        Teams              would              fold        and         no        buyers              Washington                  1972
     would            be     found            They            also           forecast              the
                                                                                                         D S Davenport Collusive                                 Competition          in

     end         of     player           development                          and         minor                                                                Its                  and
                                                                                                             Major           League         Baseball                  Theory
     league            subsidies                 and          hence                longterm                                                                          Amer         Econ
                                                                                                             Institutional               Development
     damage             to the          sport None                      of   these        objec              Fall       1969  14 630
     tions       has         more than                 superficial                 merit As              M        El    Hodiri and J Quirk                       An        Economic

     El Hodiri               and Quirk             have proved                       the       dis           Model           of     a    Professional          Sports       League
     tribution               of                        talent            would           be        the       J Polit Econ                   NovDec             1971        79 1302
                                   playing
                                                                                                             19
     same with                or    without                 the     reserve              clause
                                                                                                         I   Horowitz               Professional           Sports          Broadcast
     since       the         MRPs            of    players               vary        by        city
                                                                                                             ing       and        the    Promotion        of     Sequential         Oli
                                          distribution
                                                                                                                                         R G Noll
     size        only        equal                                            of    revenues
                                                                                                             gopoly               in                           ed      Government
     among            the         teams would                     effectively             bring
                                                                                                             and       the    Sports Business              Washington             1974
                                                                                                   in
     about equalization                           of    play Profitable                                  R G Noll                   Attendance            Prices       and     Profits

     vestments in teams are still                                       possible          in       the       in                                           in           Government
                                                                                                                   Professional             Sports              his

     absence           of    monopsony rents since                                   monop                   and       the    Sports Business              Washington             1974
     oly     profits          remain              It    is
                                                                 possible           that           re    A H Pascal and L A Rapping The Eco
     organized               with        the           league            as        the        basic          nomics           of        Racial     Discrimination             in    Or
     economic                decision             unit            instead                of        the       ganized              Baseball         in    A H           Pascal       ed
                                                                                                             Racial          Discrimination              in     Economic
     team baseball could                           operate               as   an efficient                                                                                         Life

                                                                                                                                    1972     11956
                                                                                                         G W Scully The Economics
                             or duopoly                     father            than        as       an        Lexington
     monopoly
                                                                                                                                                                      of    Discrimi
     inefficient             cartel          Finally               if    players              were
                                                                                                             nation          in    Professional         Sports        The     Case   of
     to    receive           their       MRPs                the                              as    in
                                                                         players
                                                                                                             Baseball               in    R G Noll ed Government
     the     Professional                    Golf           Association                  would
                                                                                                             and       the    Sports Business             Washington              1974
     fully       absorb            their training costs                             Baseball
                                                                                                                             Economic             Discrimination             in     Pro
     schools           could                                                       with        the
                                        develop              players                                         fessional
                                                                                                                                   Sports         J      Law         Contemporary
                                                                                     tuition
     potential               major           leaguer              paying                                   Probl Winter Spring 1973 38 6784
     These            schools           could          be     within               organized             The Baseball Encyclopedia New York 1969
     baseball           or    independent                    of    it        Or perhaps                      Sporting             News Mar 18                  1972
